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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION
                                         §
    RFCYBER CORP.,                       §     Case No. 2:20-cv-00274-JRG
                                         §     (LEAD CASE)
                           Plaintiff,    §
                                         §     JURY TRIAL DEMANDED
             v.                          §
                                         §
    GOOGLE LLC and GOOGLE PAYMENT        §
    CORP.,                               §
                                         §
                           Defendants.   §
                                         §
                                         §
                                         §
    RFCYBER CORP.,                       §     Case No. 2:20-cv-00335-JRG
                                         §     (MEMBER CASE)
                           Plaintiff,    §
                                         §     JURY TRIAL DEMANDED
             v.                          §
                                         §
    SAMSUNG ELECTRONICS CO. LTD. and     §
    SAMSUNG ELECTRONICS AMERICA,         §
    INC.,                                §
                                         §
                           Defendants.   §




             PLAINTIFF RFCYBER CORP.’S RESPONSE IN OPPOSITION
           TO SAMSUNG’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                      OF NON-INFRINGEMENT (DKT. 173)
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   I.     INTRODUCTION

          Plaintiff RFCyber Corp. (“RFCyber”) hereby files this Response in Opposition to

   Samsung’s Motion. Samsung disregards both the substantial evidence cited in Dr. Jones’

   Infringement Report and its own expert’s opinions, in favor of the naked attorney argument

   presented throughout its Motion. But as discussed in greater detail below, there are genuine

   disputes of material fact that preclude summary judgment on each of the eight grounds presented

   in Samsung’s Motion, and Samsung fails to show that summary judgment is correct as a matter of

   law.

          Among other deficiencies, Samsung fails to address evidence that: (1) Asserted method

   claims recite “providing a portable device” which is satisfied by Samsung’s sale, offer for sale,

   import, use, and manufacture of the Accused Products;




                                                                                 5) Dr. Jones opines

   that each asserted method claim is performed by Samsung, a single entity, including during normal

   operation of Samsung Pay (not just during marketing demonstrations); and (6) Samsung has

   induced its customers to use Samsung Pay while knowing of RFCyber’s patents since at least 2012,

   and after copying RFCyber’s patented products to make Samsung Pay. Samsung’s Motion should

   be denied.

   II.    STATEMENT OF ISSUES TO BE DECIDED BY THE COURT

          Whether genuine disputes of material fact preclude summary judgment as to each ground

   sought in Samsung’s motion, and whether judgment is correct as a matter of law.
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   III.   RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL FACTS

          Samsung fails to present a Statement of Undisputed Facts as required by Local Rule CV-

   56(a) and 56(d), because its statement is improperly argumentative. Samsung’s attorney argument

   regarding “the asserted patents and claim construction” (Section III) and “RFCyber’s infringement

   contentions and Dr. Jones’ infringement report” (Section V) are also not summary judgment

   evidence and are not presented as such. The Court should disregard Samsung’s improperly

   argumentative statements,



                                                                 See Parthenon Unified Memory

   Architecture LLC, v. Apple Inc., Case No. 2:15-cv-621-JRG-RSP, Dkt. 245 at 5 (E.D. Tex. Sept.

   21, 2016) (“PUMA’s statement that Apple’s disputed facts are ’improperly argumentative’ is true

   to some extent, and the Court disregards such statements.”) While Samsung’s motion should

   therefore be denied as a threshold matter, RFCyber provides the following responses to the factual

   assertions that can be discerned from Samsung’s statement.

          1.




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          2.     RFCyber disputes Samsung’s assertion that “the user can download [Samsung Pay]

   from the Google Play or Samsung Galaxy Store,” because this statement suggests that those are

   the only ways to download Samsung Pay.




          3.     RFCyber disputes that, “in order to use Samsung Pay, a user must first add a credit

   card.” Use of Samsung Pay is not limited to transactions with credit cards; for example, Samsung

   Pay may be used to add a credit card. Ex. A at 86-92; id. at Sections 2.2.2.2, 2.2.2.6. Moreover,

   transactions with Samsung Pay are not limited to credit cards; users may also add debit cards,

   loyalty cards, stored value cards, prepaid cards, and other forms of payment card. Ex. A at 118-

   121, 168. In some cases a user is not even required to have a pre-existing account with a card-

   issuer, such as when enrolling a Samsung Pay Cash card. Ex. D, RFC-SAMSUNG00002728 at

   0:46-3:10.

          4.




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       In considering a genuine issue of material fact, the evidence must be viewed in the light

most favorable to the party opposing the motion, with doubts resolved in favor of that party. Id.;

Rockwell Int’l Corp. v. U.S., 147 F.3d 1358, 1362 (Fed. Cir. 1998). “[A] trial court cannot reach a

conclusive finding of noninfringement if the record shows some evidence supporting a finding of

noninfringement and some evidence to the contrary.” AFG Indus., Inc. v. Cardinal IG Co., Inc.,

375 F.3d 1367, 1371 (Fed. Cir. 2004). “As a general rule, summary judgment is inappropriate

where an expert’s testimony supports the non-moving party’s case.” Vasudevan Software, Inc. v.

MicroStrategy, Inc., 782 F.3d 671, 683 (Fed. Cir. 2015). Where there are dueling experts, both of

whom have put forward opinions in contradiction and when those opinions are important to

resolution of a material factual dispute, summary judgment may not be appropriate. Hodosh v.

Block Drug Co., 786 F.2d 1136, 1143 (Fed. Cir. 1986) (“The fact issues herein must be resolved

by trial in which the conflicting views of the experts will be subject to the refining fire of cross

examination.”). Two experts’ competing applications of a claim construction is a fact issue to be

decided by a jury. Metaswitch Networks Ltd. v. Genband US LLC, No. 2:14-cv-744-JRG-RSP,

2016 WL 889217, at *2 (E.D. Tex. Mar. 8, 2016).

V.     ARGUMENT

       A.      There Remains a Genuine Dispute over Samsung’s Direct
               Infringement of Certain Method Claims by Selling, Offering to Sell,
               Making, and Importing the Accused Products

       There are genuine disputes of material fact as to whether Samsung’s sale, offers to sell,

manufacture, and import of the Accused Products infringe method Claims 1 and 8 of the ’218

Patent, which recite steps of “providing a portable device. . . .” See ’218 Patent, Claims 1 and 8.

RFCyber is not presenting a theory that the remaining asserted method claims (claim 10 of the

’855 Patent and Claim 11 of the ’787 Patent) are practiced in this manner, so this ground is moot

with respect to those claims. Samsung’s motion on this ground should therefore be denied.


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       Claim 1 of the ’218 Patent recites a method with a step of “providing a portable device,”

that is practiced by, Samsung’s sale, offers to sell, manufacture, and import of the Accused

Products. For example, Samsung’s sale of mobile devices to customers, and provision of Samsung

Pay software (either pre-loaded, provided as a download, or provided as an update), practices the

step of “providing a portable device” that meets the claimed limitations. See Ex. A at Section 3;

see also Ex. E at 1 (“For example, every product identified at Section 2.1 is a smartphone or

wearable comprising a portable device.”). Samsung’s manufacture of accused devices and

providing Samsung Pay software for download is also “providing a portable device.” Id.




                                                          Samsung’s Motion does not specifically

address Claims 1 and 8 of the’218 patent at all.

       Accordingly, Samsung’s Motion on this ground should be denied.

       B.      There is a Genuine Dispute over Infringement by Sale, Offers to Sell,
               Manufacture, Import, and Use of Accused Products without Samsung
               Pay Preloaded

       Samsung’s Motion on this ground should be denied because there remains a genuine

dispute of material fact as to whether Samsung sells, offers to sell, imports, uses, and makes the

Accused Products, irrespective of whether the Samsung Pay app is pre-loaded or downloaded

after purchase of a phone or wearable.




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                                                               , Samsung sells, offers to sell, and

makes the complete and operable invention of the Asserted Claims when it provides the Samsung

Pay app (e.g., via an automatic download or an app store) after selling accused phones and

wearables. To allow a party to avoid infringement by making or selling a claimed invention in

separate transactions or steps “would emasculate the congressional intent to prevent the making of

a patented item during the patent’s full term.” See Paper Converting Mach. Co. v. Magna-

Graphics Corp., 745 F.2d 11, 19–20 (Fed. Cir. 1984) (“If without fear of liability a competitor can

assemble a patented item past the point of testing, the last year of the patent becomes worthless

whenever it deals with a long lead-time article.”) Accordingly, Courts have found the sale of a

“complete and operable system or apparatus” to infringe a claim, irrespective of whether parts are

“sold separately.” St. Clair Intellectual Prop. Consultants, Inc. v. Toshiba Corp., C.A. No. 09-354-

LPS, 2014 WL 4253259, at *3 (D. Del. Aug. 27, 2014) (A “jury could reasonably have found that

[Sony] sells a complete and operable system or apparatus rather than mere constituent parts,

despite the fact that most of the consoles, controllers and games are sold separately.”); see also

EBS Auto. Servs. v. Illinois Tool Works, Inc., Case No. 09-CV-996 JLS MDD, 2011 WL 4021323,

at *9 (S.D. Cal. Sept. 12, 2011) (“[A] reasonable jury could conclude that ITW sells a complete

and operable apparatus, as opposed to mere components, even if the BrakeTech and the fresh and

waste fluid containers are sold separately.”)

       Here, when Samsung provides a device and the Samsung Pay app in separate transactions,

it provides a “complete and operable system,” not merely constituent parts that another is left to

assemble. For example, Samsung provides the complete and operable invention of the claims




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when it provides a mobile device, and provides the Samsung Pay app via an app store,




                     Samsung does not appear to dispute that the transaction of downloading

Samsung Pay independently constitutes a sale under § 271(a). Thus, as Dr. Jones opines, Samsung

carries out infringing sales by selling the “complete and operable invention” of the claims,

irrespective of whether that sale occurs over the course of multiple transactions.

       Samsung similarly uses the Accused Products, both when Samsung Pay is pre-loaded and

otherwise, by putting the system into use. Centillion Data Sys., LLC v. Qwest Commc’ns Int’l.,

Inc., 631 F.3d 1279, 1284 (Fed. Cir. 2011) (“We hold that to ‘use’ a system for purposes of

infringement, a party must put the invention into service, i.e., control the system as a whole and

obtain benefit from it.”)

       Finally, contrary to Samsung’s mischaracterization, RFCyber is not asserting infringement

against products where the Samsung Pay app is never downloaded. This is very different than the

category of Accused Products where the Samsung Pay app is downloaded after the initial sale of

a phone or wearable



       Accordingly, Samsung’s Motion on this ground should be denied.

       C.      There is a Genuine Dispute of Material Fact Over Whether the
               Accused Products Comprise an “e-purse”

       There is a genuine dispute of material fact over whether the Accused Products comprise an

“e-purse” which the Court construed as “software that stores electronic financial information in a

local device.” Samsung argues that Samsung Pay does not store “financial information” based on



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the incorrect assertion that Samsung Pay does not store plain-text credit card information.

Samsung’s argument fails on its own terms because Dr. Jones shows that Samsung Pay does store

credit card information on a local device. Samsung’s argument also fails because Dr. Jones

explains that “financial information” stored by Samsung Pay in local devices includes

                                                                           At most, Samsung’s

arguments demonstrate a genuine dispute of material fact.
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       Samsung’s argument that Samsung Pay is not an e-purse, based on its assertion that a

                                                  are not financial information, shows, at most, a

genuine dispute of material fact. See Hodosh, 786 F.2d at 1143. (“The fact issues herein must be

resolved by trial in which the conflicting views of the experts will be subject to the refining fire of

cross examination.”) Samsung fails to even identify any expert opinion supporting its position,

relying entirely on improper attorney argument.

       Samsung resorts to mischaracterizing the Court’s construction of “e-purse” in an attempt

to revive its rejected prosecution history disavowal argument. Mot. At 17. Samsung

mischaracterizes the Court’s statement that “the patentee . . . distinguished Schmeuli and Atsmon




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based on the claimed invention using information stored locally rather than retrieving information

from somewhere else,” 1 for the false conclusion that financial information must be stored

exclusively on a local device. Mot. At 16-17. In essence, Samsung argues that any storage of

financial information on a payment server nullifies the storage of financial information on a local

device.




                          Viewed most generously, Samsung’s argument amounts to an improper

argument that Samsung Pay practices prior art cited during claim construction. In any case,

Dr. Jones’ well-considered application of the Court’s construction gives rise to a factual issue,

irrespective of Samsung’s arguments based on the prosecution history. See Metaswitch Networks,

2016 WL 889217, at *2. (holding two experts’ competing applications of a claim construction is a

fact issue to be decided by a jury).




1
  Samsung also omits the following sentence of the Court’s Order, noting that “[t]his prosecution
history therefore does not amount to a definitive statement by the patentee that the term ‘e-purse’
requires money stored locally,” Dkt. 147 at 15.


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       Because Samsung fails to address evidence showing that Samsung Pay stores card

information that Samsung admits is “financial information,” and because Dr. Jones’ conclusion

that                                   are financial information, is a reasonable exercise of expert

opinion, a genuine dispute of material fact precludes summary judgment. See Freeny v. Fossil

Grp., Inc., No. 2:18-cv-00049 (JRG) (RSP), 2019 WL 4935297, at *4 (E.D. Tex. July 26, 2019).

Accordingly, Samsung’s Motion on this ground should be denied.

       D.      There is a Genuine Dispute of Material Fact Over Whether the
               Accused Products Comprise an “fund stored in the emulator”

       There is a genuine dispute of material fact over whether the

                        of the Accused Products comprise a fund. Accordingly, Samsung cannot

meet its burden for summary judgment.

       As explained, supra Section V.C., Dr. Jones opines that an

       comprise a fund. Dr. Jones further explains that




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          As with the “e-purse” limitation, Samsung’s arguments show, at most, the presence of a

genuine dispute of material fact. However, Samsung’s motion does not cite any proper summary

judgment evidence for this ground, instead relying on attorney argument that a fund must be “a

pool of money,” and the unsupported assertion that use of a token necessitates a fund stored

elsewhere. Motion at 18-19. Even if Samsung’s attorney argument was supported by evidence (it

is not), that would merely rise to the level of a factual dispute that precludes summary judgment.

          Accordingly, Samsung’s Motion on this ground must be denied.

          E.     There is a Genuine Dispute of Material Fact Over Whether Samsung
                 Directly Infringes Claims 11 and 15 of the ’218 Patent and Claim 1 of
                 the ’787 Patent by Selling, Offering to Sell, Importing, and Making
                 Accused Products

          Samsung directly infringes Claims 11 and 15 of the ’218 Patent and Claim 1 of the ’787

Patent, by making, selling, offering to sell, and importing systems comprising every limitation of

the Asserted Claims. 2 Samsung’s arguments rely on its disputed factual assertion that the “payment

server”                        and “e-purse SAM”


2
    Samsung’s Motion does not challenge its “use” of the systems of the claims at issue.


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             are not part of the system sold to customers. But Samsung’s argument merely shows

the presence of a dispute of material facts that precludes summary judgment.

       As a threshold matter, Samsung relies on conclusory assertions that the system of Claims

11 and 15 of the ’218 Patent require a “payment server” and an “e-purse SAM.” To the contrary,

Claim 11 only recites a “portable device” with various elements that are “configured to” operate

in conjunction with a payment server and e-purse SAM. While Claim 11 recites separate clauses

with additional requirements for “the payment server” and “the e-purse SAM,” the antecedent

basis for those limitations is the “payment server” and “SAM” with which the mobile device is

configured to operate. Id. (reciting “the payment server associated with an issuer . . . the e-purse

SAM configured to enable the e-purse applet. . . .) Accordingly, these limitations do not create any

independent requirement that the claimed system include a payment server and SAM, they only

impose qualifications on the type of payment server and SAM with which the claimed portable

device must be configured to operate. Accordingly, Samsung fails to show that summary judgment

is correct as a matter of law with respect to those claims.

       In any case, while not required, RFCyber has advanced substantial evidence that the

Accused Products sold, offered for sale, made, and imported by Samsung comprise a “payment

server” and “e-purse SAM.”

       First, Samsung makes the entire claimed systems, including the payment server and e-purse

SAM, by assembling all elements when Samsung Pay is loaded on mobile devices. When Samsung

Pay is downloaded on a mobile device (whether pre-loaded or downloaded after purchase),

Samsung integrates a payment server                       and an e-purse SAM

              with the device on which Samsung Pay is installed. Ex. A at 290-91




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                                            Samsung is directly responsible for that assembly, at

least because it handles downloads of the Samsung Pay application                              over

infrastructure it owns or controls (e.g., Galaxy store servers or Google store servers through which

Samsung makes its software available), and integrates the system by executing code that it deploys

on both mobile devices and Samsung Pay servers.




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                                                                                      Accordingly,

there is a genuine dispute over Samsung’s manufacture of the accused products, including a

“payment server” and “e-purse SAM.”

       Samsung similarly makes the system of Claim 1 of the ’787 Patent by adding a payment

card to Samsung Pay in response to an enrollment request by a user. 3




                                                               Contrary to Samsung’s conclusory

arguments, Claim 1 of the ’787 does not require a payment card to be “pre-loaded.” Rather, the

claim recites “an e-purse applet to cause the portable device to function as an electronic purse (e-

purse), wherein both of the emulator and e-purse applet are already personalized via a




3
  Samsung’s Motion does not assert that Claims 11 and 15 of the ’218 require a card to be added
to Samsung Pay. See Motion at Section VII.D.


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personalization process.” The claim does not recite any requirement that an applet be “already

personalized” in order to cause the portable device to function as an e-purse be “pre-loaded.”

       Second, with respect to Claims 11 and 15 of the ’218 Patent, there is a genuine dispute of

material fact as to whether Samsung sells, offers to sell, and imports the claimed systems by selling

mobile devices pre-loaded with Samsung Pay, and by providing instances of Samsung Pay

downloaded on mobile devices. See supra Section IV.B, Samsung sells devices and software that

comprise the complete and operable invention of the Asserted Claims.




                           Accordingly, there is a genuine dispute over Samsung’s sale, offers to

sell, and import of the Accused Products, including a “payment server” and “e-purse SAM.”

       RFCyber is not presenting a theory of direct infringement by selling, offering to sell, or

importing the system of Claim 1 of the ’787 Patent at trial, and accordingly Samsung’s motion on

that ground is moot and should be denied.




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       Because there remain genuine disputes of material fact as to Samsung’s direct infringement

of Claims 11 and 15 of the ’218 Patent, and Claim 1 of the ’787 Patent, Samsung’s Motion on this

ground must be denied.

       F.      There is a Genuine Dispute of Material Fact Over Whether a Single
               Entity Performs Claim 8 of the ’218 Patent, Claim 11 of the ’787
               Patent, and Claim 10 of the ’855 Patent

       There is a genuine dispute of material fact as to whether a single entity (e.g., either

Samsung or a customer) performs each step of the Asserted Claims, including those reciting

“initiating a request from the e-purse after valid [PIN] numbers are entered,” (’218 patent, Claim

7), “performing [NFC] . . . to perform electronic commerce . . . and performing mobile commerce,”

(’787 Patent, Claim 11), and “initiating a fund transfer request” (’855 Patent, Claim 9). Samsung

relies on unsubstantiated attorney argument that it is impossible for a single entity to carry out

every step of the Asserted Claims. But given Dr. Jones’ well-considered opinions to the contrary,

and the plain language of the claims, Samsung cannot meet its burden for summary judgment.

       First, Samsung performs every step of Claim 8 of the ’218 Patent, including “initiating a

request from the e-purse after valid [PIN] numbers are entered and accepted on the portable

device,” by deploying executable code on mobile devices that automatically initiates a request in

response to a valid PIN.




                            Contrary to Samsung’s attorney argument, “initiating” a request with


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Samsung’s code, in response to a user input, does not render that step performed by a user. In any

case, under Samsung’s logic, every step of Claim 8 would be performed by a customer by merit

occurring in response to some user input. Accordingly, a reasonable jury could find that every step

of Claim 8 of the ’218 Patent is performed by the same entity (whether a customer or Samsung).

       Second, Samsung performs every step of Claim 11 of the ’787 Patent, including

“performing [NFC] . . . to perform electronic commerce . . . and performing mobile commerce.”

Contrary to Samsung’s unsupported attorney argument, hardware and software deployed by

Samsung practices the step of “performing mobile commerce.”




                In any case, Samsung’s position that “performing mobile commerce” can only be

done by a person is nonsensical in view of the claim language itself – Samsung does not explain

how a human could “perform near field communication (NFC) via a first interface.” Samsung’s

suggestion that Dr. Jones “conceded” otherwise during his deposition is simply false. To the

contrary, Dr. Jones stated “[t]hat's the software and hardware. So it's either Samsung if they are

responsible for the operation of the software or the user operating the device.” Ex. F at 288:2-16.

Moreover, as with the above limitation, every step of the claim would be performed by a customer

under Samsung’s logic. Accordingly, there is a genuine dispute of material fact as to whether a

single entity performs every step of Claim 11.

       Finally, Samsung performs every step of Claim 10 of the ’855 Patent (which depends from

Claim 9), including “initiating a fund transfer request by a server. . . .”




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conclude . . . that liability under § 271(a) can also be found when an alleged infringer conditions

participation in an activity or receipt of a benefit upon performance of a step or steps of a patented

method and establishes the manner or timing of that performance.”) Here, a reasonable jury could

find that, to the extent any                     is operated by a third party, Samsung directs and

controls the performance of the                     by providing technical specifications governing

the functionality required of the                   . See Ex. A at 145, 267. A reasonable jury could

further find that, based on those specifications, Samsung conditions the receipt of a benefit (e.g,.

                        based on performance of the specified functionalities. Accordingly, a

reasonable jury could find Samsung liable for direct infringement, even if a                    were

being provided by a third party (rather than as a component in Samsung’s integrated system).

       Thus, Samsung’s Motion on this ground must be denied.

       G.      There is a Genuine Dispute of Material Fact Over Whether Samsung
               Infringes the Asserted Method Claims by Using the Accused Products
               in the United States

       There is a genuine dispute of material fact over whether Samsung uses the asserted method

claims in the United States. Samsung’s argument relies on the false premise that Dr. Jones only

asserted use by Samsung based on testing and demonstrations. Samsung ignores the balance of the

Jones report demonstrating Samsung’s use during normal operation of Samsung Pay In any case

Samsung’s marketing documents show that it does demonstrate Samsung Pay in the United States.

Because Samsung has failed to meet its burden for summary judgment, its Motion must be denied.

       First, contrary to Samsung’s mischaracterization, Dr. Jones shows that Samsung performs

every asserted method claim during normal operation of Samsung Pay. With respect to Claim 1 of

the ’218 Patent, Samsung performs “providing a portable device. . . .” by distributing mobile

devices and Samsung Pay software in the United States and performs “personalizing the e-purse

applet. . . .” by deploying and executing code of the                            in conjunction with


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                          . See Ex. E at 1-3, 61-87. With respect to Claim 11 of the ’787 Patent,

Dr. Jones similarly shows that Samsung performs “loading a smart card module with an

emulator. . . ,” “personalizing the emulator and the e-purse applet” and “performing [NFC] via a

first interface . . . to perform electronic commerce,” and “performing mobile commerce. . . .” by

distributing devices and deploying code executed on those devices and on Samsung servers during

operation of Samsung Pay on those devices. See Ex. H at 2-83. As a further example, with respect

to Claim 9 of the ’855 Patent, Dr. Jones opines that the




                              Samsung similarly performs the methods of the asserted dependent

claims of the independent claims, discussed above. Thus, a genuine dispute of material fact

precludes summary judgment.

       Second, there is ample evidence that Samsung’s uses the Accused Products during its

marketing and testing activities.

                                                                                                 As

discussed above, Samsung’s operation of Samsung Pay during such demonstrations infringes the

asserted method claims. Thus, there is also a genuine dispute of material fact regarding Samsung’s

infringing use of method claims based on its marketing and testing.

       Finally, there is substantial evidence that Samsung’s performance of the asserted method

claims (both during regular operation, and during marketing and testing) occur in the United States.




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                                                                          Thus, there is substantial

evidence that the infringing use occurred in the United States.

       Because there are genuine disputes of material fact as to Samsung’s use of the asserted

method claims, Samsung’s Motion must be denied.

       H.      There is a Genuine Dispute of Material Fact Over Samsung’s
               Infringement Based on Inducement

       There is a genuine dispute of material fact regarding induced infringement because

substantial evidence shows that (1) Samsung has known of the Asserted Patents since at least 2013;

(2) Samsung knew that the Asserted Patents cover both RFCyber’s ePayment and TSM platforms,

which Samsung copied, and Samsung Pay; and (3) Samsung has instructed and encouraged its

customers to make and use the Accused Products in an infringing manner. See Commil USA, LLC

v. Cisco Sys., Inc., 575 U.S. 632, 639 (2015) (“[L]iability for inducing infringement attaches only

if the defendant knew of the patent and that ‘the induced acts constitute patent infringement.’”).

       First, there is substantial evidence that Samsung has known of the Asserted Patents since

at least December 2012,




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                                 Moreover, Samsung has indisputably known of the Asserted Patents

since the filing of this suit.

        Second, there is substantial evidence that Samsung knew that the Accused Products

infringed RFCyber’s patents.




                                 On this basis, a reasonable jury could, at the very least, draw the

inference that Samsung knew, or was willfully blind to the fact, that patents which covered the

ePayment and TSM Platforms also covered Samsung Pay.




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       Samsung does not (and cannot) cite any evidence to support its assertion that it had a “good

faith belief of non-infringement.”




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                   Thus, the evidence of record supports a finding of specific intent or willful

blindness, not any “belief of non-infringement.”

       Finally, Samsung has affirmatively induced its customers to make and use the Accused

Products in an infringing manner. For example, Samsung’s marketing materials and instruction

manuals encourage its customers to add Samsung Pay to mobile devices, add cards through

Samsung Pay, and to conduct transactions through Samsung Pay. See e.g., Ex. P at 94-96 (user

manual representative instructions provided for all Accused Products).




                                                       Accordingly, a reasonable jury could find

that Samsung has affirmatively induced customers to perform infringing acts.

       Accordingly, there is a genuine dispute of material fact as to induced infringement, and

Samsung’s Motion on this ground should be denied.

       I.     The Issue of Contributory Infringement is Moot

       RFCyber is not presenting a contributory infringement theory at trial. Accordingly,

Samsung’s Motion on this ground is moot, and should be denied. See e.g., VirtnetX Inc. v. Apple

Inc., 925 F. Supp. 2d 816, 849 (E.D. Tex. 2013).

VI.    CONCLUSION

       For the reasons stated, the Court should deny Samsung’s Motion in its entirety.

Dated: December 29, 2021                    Respectfully submitted,

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